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Michael C. Munger

Professor of Political Science and Economics
Duke University, Durham, NC 27708
Curriculum Vitae

Phones:

919 660 4300 (office) Email: munger@duke.edu

919 844 0154 (home) Web page: _http://www.duke.edu/~munger
919 369 6453 (cell) Personal Age 50, Married, 2 children
Education

e Ph.D. (Economics, 1984), Washington University
e M.A. (Economics, 1982), Washington University
e B.A. (Economics, 1980), Davidson College

Selected Grants & Honors (Excluding Internal Grants and Small External Grants):

Resources for the Future (co-P.1., 1991-2; $28,000)

Robert W. Johnson Foundation (consultant, 1994-6; $107,000)

Muskie Foundation (co-P.I., 1994; $12,000)

Various local government contracts (P.I., 1991-1995; $78,000)

Winner of Duncan Black Prize for Best Paper in Public Choice

National Science Foundation (P.I., 1998-2000, $49,500)

Templeton Foundation (1998-1999, $11,500)

Liberty Fund, co-PI, week-long symposia for graduate students in Political Economy:
1999; June 2001, June 2003; June 2005; June 2006; June 2007.

National Science Foundation, PI (1999-2000, $64,500)

National Science Foundation, PI (2002-3, $14,500)

National Science Foundation, co-PI (2004-6, $160,000)

National Endowment for the Humanities (September 2005, co-PI, $600,000)

Earhart Foundation (Support for sabbatical semester, 2007)

National Endowment for the Humanities (2008, matching, co-PI, $1.8 million)

D.A.A.D. Summer Fellowship, University of Erlangen, Germany, April — July, 2009

Duke University-Wide Teaching Prizes
NAACP “Image” Award--“Teaching About Race in America” 2003
Howard Johnson Award for Excellence in Teaching--2004
Bass Family Term Chair for Excellence in Undergraduate Education, 2006-20011

Administrative Positions
Formal Theory Section Head, Southern Political Science Association, 1997
Advisory Panel, Political Science Section, NSF, 1997-9, 2000
President, Public Choice Society, 1996-8
Public Policy Section Head, Southern Political Science Association, 1996
Director, Master of Public Administration Program, UNC-CH: 7-1993 to 6-1995
Chair, Department of Political Science, Duke University, 2000-2006, 2007-2010
“World” Editor (outside of Europe), Public Choice, 2005-Present

Employment

June
Case 1:08-cv-00165-BLW Document 61-1 Filed 09/29/10 Page 2 of 10

Institut fur Politische Wissenschaft, Friedrich Alexander Universitat, Erlangen-Nuremberg,
Germany, Visiting Professor, 4/09 — 8/09

Political Science, Duke, Assoc. Professor, 7/97 - 6/00; Full Professor, 6/00- Present.

Political Science, U of North Carolina, Chapel Hill , Asst. Professor, 7/90 to 6/92; Assoc.
Professor with Tenure, 7/92-6/97

Department of Government, University of Texas, Austin: Asst Professor, 9/86--8/90.
Department of Economics, Dartmouth College: Visiting Asst Professor, 9/85 to 5/86.

Federal Trade Commission, Washington, D.C.: Staff Economist, 9/84 to 8/85.

Selected Publications |
(Excluding Book Reviews, Newspaper, and Magazine Articles)

Forthcoming

"Hayek's Insight: Order Without Direction, Benefit Without Intent." In Introduction to Political
Economy, edited by Greg Butler.

2009

“The Principal Difficulty: Besley’s Neo-Rousseauvian Aspirations.” Review of Austrian Economics.
Volume 22, Number 2 / June, 2009, pp. 169-175.

“Locking Up Political Speech: How Electioneering Communications Laws Stifle Free Speech and Civic
Engagement,” Institute for Justice, Arlington, VA,
http://www.ij.org/images/pdf_ folder/other_pubs/locking up_political_speech.pdf

“Market Makers or Parasites?” Econlib, Liberty Fund, Indianapolis, IN,
http://www.econlib.org/library/Columns/y2009/Mungermiddlemen.htmi

2008
“Planning Order, Causing Chaos: Transantiago.” Econlib, Liberty Fund, Indianapolis, IN,
hitp://www.econlib.org/library/Columns/y2008/Mungerbus.html

“Regulation” entry in Encyclopedia of Libertarianism, (pp. 418-420). Edited by Ronald Hamowy, et. al,
CATO Institute, Washington D.C.

"Economic Choice, Political Decision, and the Problem of Limits." In Homo Economicus, Homo
Politicus: Public Choice Special Issue. 137: 507-522.

“The Dynamics of Issue Introduction: A Model Based on the Politics of Ideology.” (with Melvin
Hinich). Mathematical and Computer Modeling. Volume 48, Issues 9-10, November: 1510-1518

“Orange Blossom Special: Externalities and the Coase Theorem.” Econlib, Liberty Fund, Indianapolis,
IN, http://www.econlib.org/library/Columns/y2008/Mungerbees.html

"Thinking About Order Without Thought.” In Tullock's Contributions to Spontaneous Order Studies,
Public Choice Special Issue, 135: 79-88.

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“Bosses Don’t Wear Bunny Slippers: If Markets are So Great, Why are There Firms?” Econlib, Liberty
Fund, Indianapolis, IN, http://www.econlib.org/library/Columns/y2008/Mungerfirms.html

“Blogging and Political Information: Truth or ‘Truthiness’?” In The Power and Political Science of
Blogs. Public Choice Special Issue. 134: 125-138.

2007
“The Five Sorry Rules of Lateness” Econlib, Liberty Fund, Indianapolis, IN,
http://www.econlib.org/library/Columns/y2007/Mungerlateness.html

“Culture, Order, and Virtue.” In Liberalism, Conservatism, and Hayek’s Idea of Spontaneous Order, pp.
192-214. L. Hunt and P. MacNamara, eds., New York: MacMillan/Palgrave.

“They Clapped: Can Price-Gouging Laws Prohibit Scarcity?” Econlib, Liberty Fund, Indianapolis, IN,
http://www.econlib.org/library/Columns/y2007/Mungergouging. html

Entries in the International Encyclopedia of Social Science, Sandy Darrity, ed., "Leadership," "Left and
Right,” "Majoritarianism," and "Public Interest." Farmington Hills: MI, Gale-Cengage Publishers.

“T'll Stick with These: Some Sharp Observations on the Division of Labor” Econlib, Liberty Fund,
Indianapolis, IN, http://www.econlib.org/library/Columns/y2007/Mungergouging.html

“Candidate Uncertainty, Mental Models, and Complexity: Some Experimental Results.” (with Michael
Ensley and Scott de Marchi). Public Choice. 132(1-2): 231-246.

“Think Globally, Act Irrationally: Recycling” Econlib, Liberty Fund, Indianapolis, IN
http://www.econlib.org/library/Columns/y2007/Mungerrecycling.html

2006
“Two Steves and One Soichiro: Why Politicians Can't Judge Innovation.”Econlib, Liberty Fund,
Indianapolis, IN. http://www.econlib.org/library/Columns/y2006/Mungercollectivism.html

“Unintended Consequences 1, Good Intentions 0,” EconLib, Liberty Fund, Indianapolis, IN,
http://www.econlib.org/library/Columns/y2006/Mungergoodintentions.html

“A Retrospective Assessment of Tullock’s The Vote Motive.” In P. Kurrild-Klitgaard, ed. The Vote
Motive. London: Institute of Economic Affairs. Pp. 131-138.

“A Fable of the OC,” EconLib, Liberty Fund, Indianapolis, IN,
http://www.econlib.org/library/Columns/y2006/Mungeropportunitycost.html

“Public Policy Informatics: Does Better Information Produce Better Public Policy?” International
Journal of Public Policy. 1 (September): 343-354

“Preference modification vs. incentive manipulation as tools of terrorist recruitment: The role of
culture.” Public Choice. 128: 131-146.

“Rent Seek and You Will Find,” EconLib, Liberty Fund, Indianapolis, IN,
http://www.econlib.org/library/Columns/y2006/Mungerrentseeking. html

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2005

“19" Century Voting Procedures in a 21" Century World,” Public Choice, Special Issue on “Public

Choice Perspectives at the Dawn of the 21" Century”, edited by William Shughart and Robert Tollison.
124: 115-133.

“Voter Uncertainty Can Produce Non-Single-Peaked But Not Cyclic Preferences: A Clue to the Fate of
Ross Perot?” (with Richard Potthoff). Journal of Politics. 67,2 (May): 429-453.

“The Thing Itself.” EconLib, Liberty Fund, Indianapolis, IN
http://www.econlib.org/library/Columns/y2005/Mungerthing. htmi

“In play: a commentary on strategies in the 2004 U.S. presidential election.” (with Jennifer Merolla and
Michael Tofias). Public Choice. 123: 19-37.

“Democracy is a Means, Not an End.” EconLib, Liberty Fund, Indianapolis, IN.
hito://www.econlib.org/library/Columns/y2005/Mungerdemocracy.html

2004

"Commentary on 'The Quest for Meaning in Public Choice,' American Journal of Economics and
Sociology, 63: 149-160. (Reprinted in Production and Diffusion of Public Choice, Blackwell
Publishers).

“Move to Markets? An Empirical Analysis of Privatization in Developing Countries.” (with Sudeshna
Ghosh Banerjee). Journal of International Development. 16: 213-240.

“Chadha v. INS: Policy-making Outside the Constitution.” (with Amy McKay) In Creating

Constitutional Change, edited by Gregg Ivers and Kevin McGuire. Charlottesville: University of
Virginia Press, pp. 93-105.

“Tragedy of the Malecon: Is Cuba ‘Domestic Politics?” EconLib, Liberty Fund, Indianapolis, IN.
http://www.econlib.org/library/Columns/y2004/MungerCuba.html

“Economists and Fiscal Policy Advice: A Deficit or a Deficiency?” Public Choice. 118: 235-249.

2003

"Demobilized and Demoralized: Negative Ads and Loosening Bonds," in Rational Foundations of
Democratic Politics, co-edited by Albert Breton, Gianluigi Galeotti, Pierre Salmon, and Ronald
Wintrobe. Pp. 15-29. Cambridge University Press.

“Use of integer programming to optimize the scheduling of panels at annual meetings of the Public
Choice Society,” (with Richard Potthoff), Public Choice 117: 163-175.

"State legislators’ beliefs about legislation that restricts youth access to tobacco products." (with
Gottlieb NH [first author], Goldstein AO, Flynn BS, Cohen JE, Bauman KE, Solomon LJ, Dana GS, and
McMorris LE). Health Education and Behavior. V. 30, 2: 209-224.

Various Entries in Encyclopedia of Public Choice, Edited by Bruno Frey, Charles Rowley, and Friedrich
Schneider. Boston: Kluwer Academic Press.

e "Committee Assignments” Vol 1: pp. 95-98
e "Committee Jurisdictions and PACs,” Vol 1: pp. 98-100

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e "Interest Groups,” Vol. 1: pp. 307-12
e “Scholarly Legacy of Mancur Olson,” (w. MJ Hinich) Vol II: pp. 284-286
e "Spatial Theory," (with Melvin Hinich) Vol II: pp. 305-312

"Investigating the Incidence of Killer Amendments in Congress." (with Jeffery A. Jenkins). Journal of
Politics 65-2: 498 - 517.

2002

"Widening vs. Deepening the European Union: An Institutional Analysis." In Institutional Challenges
in the European Union, (with Rachel Brewster and Thomas Oatley) edited by Madeline Hosli and
Adrian van Deemen. New York: Cambridge University Press. Pp. 48-64.

"Comment on 'Judicializing Politics, Politicizing Law', by John Ferejohn," in Special Issue: The Law of
Politics, Law and Contemporary Problems. V. 65: 87-94.

2001
“Institutions, Ideology, and the Transmission of Information Across Generations.” (with Michael

Ensley), in Constitutional Political Economy, edited by Ram Mudambi. Cambridge University Press.
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“Voting.” In William Shughart and Laura Razzolini (eds), Elgar Companion to Public Choice. Edward
Elgar Press. 197-239.

2000 .
"The (un)Predictability of Primaries With Many Candidates: Simulation Evidence" (with Alexandra

Cooper). Public Choice. 103: 337-355.
"Five Questions: An Integrated Research Agenda in Public Choice" Public Choice. 103: 1-12.

"Political Parties and Campaign Finance," Written Testimony, Rules and Administration Committee,
U.S. Senate, April 5, 2000. URL: http://rules.senate.gov/hearings/2000/04500hrg.htm

“The Downsian Model Predicts Divergence.” (with Mark Berger and Richard Potthoff). Journal of
Theoretical Politics. 12: 78-90.

Analyzing Policy: Choices, Conflicts, and Practice. W.W. Norton and Co., Inc.

"Political Science and Fundamental Research." PS: Political Science and Politics. Special Issue: The
Public Value of Political Science Research. Edited by Arthur Lupia. 33: 25-33.

1998

“Pangloss was Right: Reforming Congress is Useless, Too Expensive, or Harmful.” Duke
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Empirical Studies in Comparative Politics (Coedited with Melvin Hinich), edited volume published by
Kluwer Academic Publishers.

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"Editors' Introduction: Special Issue on Empirical Studies in Comparative Politics" (with Melvin
Hinich). Public Choice.

"Ideology and the Construction of Nationality: The Canadian Elections of 1993" (with Melvin Hinich
and Scott de Marchi). Public Choice.

"State legislators’ perceptions of lobbyists and lobbying on tobacco control issues." (with J. Cohen, A.

Goldstein, B. Flynn, N. Gottlieb, L. Solomon, G. Dana, and K. Baumann). Tobacco Control. 6(4):332-
6.

“First Branch, or Root? Congress, the President, and Federal Reserve." (with Irwin Morris). Public
Choice.”

"Predictors of State Legislators' Intentions to Vote for Cigarette Tax Increases.” ( with Flynn BS,
Goldstein AO, Solomon LJ, Bauman KE, Gottlieb NH, Cohen JE, and Dana GS). Preventive Medicine.
27:157-165, 1998.

1997

Analytical Politics (with Melvin Hinich), Cambridge University Press. April 1997. (This book is
reprinted in a Japanese language edition, by Keiso Shobo Publishers, in 1998). (Reprinted in a Spanish
edition in 2001, and in a Korean edition, in 2007).

"The Prohibition Amendments: A Natural Experiment in Interest Group Influence." (with Thomas
Schaller). Public Choice. 90 (1997): 139-163.

"State Legislators’ Attitudes and Voting Intentions about Tobacco Control Legislation." (with A.

Goldstein, J. Cohen, B. Flynn, N. Gottlieb, L. Solomon, G. Dana, and K. Baumann). American Journal
of Public Health. July 1997.

"State Legislators’ Intentions to Vote and Subsequent Votes on Tobacco Control Legislation." (with B.

Flynn, G. Dana, A. Goldstein, J. Cohen, N. Gottlieb, L. Solomon, and K. Baumann). Health Psychology.
16(1997): 401-404.

1995

"Win, Lose, or Withdraw: A Categorical Analysis of Career Patterns in the House of Representatives,
1948-1978" (with Dennis Coates) Public Choice 83: 91-115. (This paper won the "Duncan Black
Award" for best paper published in Public Choice for 1995.)

"Legislative Voting and the Economic Theory of Politics." (with Dennis Coates) Southern Economic
Journal. v. 61 (1995): 861-73.

"Strategizing in Small Group Decision Making: Host State Identification in the Southeast Compact"
(with Dennis Coates) Public Choice. 82: 1-16

1994

"The Determinants of Industry Political Activity, 1978 - 1986." (with Kevin Grier and Brian Roberts)
American Political Science Review, 88: 911-932.

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Single Prime and Multi-Prime Contracting in North Carolina Public Construction: A Report Submitted

Under Contract to the N.C. State Building Commission. (with Frayda Bluestein, 43 pages). Raleigh, NC:
State Building Commission, September.

"Not Equitable, Not Efficient: U.S. Policy on Low-Level Radioactive Waste Disposal" (with Dennis
Coates and Victoria Heid) Journal of Policy Analysis and Management, 13: 526-541.

"Judicial Interpretation in the Face of Uncertainty: A Comment on Schwartz, Spiller, and Urbiztondo"
Law and Contemporary Problems, 57: 87-90.

Ideology and the Theory of Political Choice, with Melvin J. Hinich. Ann Arbor, MI: University of
Michigan Press, 267 pages.

"Comparing Reelection Rates in the House and Senate," (with Kenneth Collier) Public Choice. 78:45-
54.

1993

"Corporate, Labor, and Trade Association Contributions to the U.S. House and Senate, 1978-1986,"
(with Kevin B. Grier) Journal of Politics 55: 615-44

"Doing Well While Intending Good: Exploitation and the Pareto Criterion," (with William C. Mitchell)
Journal of Theoretical Politics 5:34-79.

"Political Ideology, Communication, and Community," (with Melvin J. Hinich), in William Barnett,
Melvin Hinich, and Norman Schofield (eds.) Political Economy: Institutions, Competion, and
Representation, Cambridge University Press, pp. 25-50.

"A Revised Probabilistic Spatial Model of Elections: Theory and Evidence," (with James Enelow and
James Endersby), in Bernard Grofman (ed.) An Economic Theory of Democracy in Contemporary
Perspective. University of Michigan Press, pp. 125-40.

"The Elements of Candidate Reputation: The Effect of Record and Credibility on Optimal Spatial
Location," (with James Enelow) 77: 757-72 Public Choice.

"Committee Power and Value in the U.S. Senate: Implications for Policy," (with Gary M. Torrent)
Journal of Public Administration Research and Theory. 3: 46-65.

1992
"Guessing and Choosing: A Multicriterion Decision on a Disposal Technology for Low Level
Radioactive Waste," (with Dennis Coates) Journal of Public Policy, 11: 275-289.

"The Spatial Theory of Ideology," (with Melvin J. Hinich) Journal of Theoretical Politics 4(January): 5-
27.

The Disposal of Low-Level Radioactive Waste in America: Gridlock in the States, (with Dennis Coates
and Victoria Heid), St. Louis, MO: Center for the Study of American Business.

"The Impact of Legislator Attributes on Union PAC Contributions," (with James Endersby) Journal of
Labor Research. 12: 79-97.

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1991

"Economic Models of Interest Groups: An Introductory Survey," (with William Mitchell) American
Journal of Political Science. 35: 512-546.

"The Industrial Organization of Corporate Political Activity," (with Kevin Grier and Brian Roberts)
Southern Economic Journal. 57: 727-738.

"Committee Assignments, Constituent Preferences, and Campaign Contributions to House Incumbents,"
(with Kevin Grier). Economic Inquiry. 29: 24-43.

1990
"Public Choice in Political Science," (with Jay Dow). PS: Political Science and Politics. 23: 604-610.

"Political and Economic Control of the Federal Reserve: A Review of the Literature,” (with Brian E.

Roberts) in Thomas Mayer (ed.), The Political Economy of Monetary Policy, Cambridge University
Press.

"Shirking, Representation, and Congressional Behavior: Voting on the 1983 Amendments to the Social
Security Act," (with Lilliard Richardson). Public Choice 67: 11-34.

"Allocation Patterns of PAC Monies: The U.S. Senate," (with Kevin Grier and Gary Torrent). Public
Choice 67 : 111-128.

1989

"A Simple Test of the Thesis that Committee Assignments Shape the Pattern of Corporate PAC
Contributions," Public Choice 62: 181-186.

"Political Investment, Voter Perceptions, and Candidate Strategy: An Equilibrium Spatial Analysis,"
(with Melvin J. Hinich) in Peter Ordeshook (ed.) Models of Strategic Choice in Politics, Cambridge
University Press, 49-68.

"Declining Electoral Competitiveness in the House of Representatives: the Differential Impact of
Improved Transportation Technology." (with Douglas Hart). Public Choice 61: 217-231.

"Contributions, Expenditure, Turnout: The 1982 U.S. House Elections." (with Gary Cox), American
Political Science Review 83: 217-231.

"The Rationality of Ideology," (with William R. Dougan) Journal of Law and Economics v. 32 : 213-
239.

1988

"Allocation of Desirable Committee Assignments: Extended Queues vs. Committee Expansion,"
American Journal of Political Science v. 32, no. 2:317-344.

"On the Political Participation of the Firm in the Electoral Process: An Update," Public Choice v. 56,
No. 3: 295-298.

1986
Case 1:08-cv-00165-BLW Document 61-1 Filed 09/29/10 Page 9 of 10

"The Impact of Legislative Attributes on Interest Group Contributions" (with Kevin B. Grier), Journal of
Labor Research v. 7: 349-361.

"Legislators and Interest Groups: How Unorganized Interests Get Represented” (with Arthur T.
Denzau), American Political Science Review v. 80: 89-106 (Reprinted in Robert M. Alexander, The

Classics of Interest Group Behavior. (pp. 338-357). Belmont, CA: Wadsworth Higher Ed Publishing,
2006.

1985

"A Time-series Investigation into Factors Influencing U.S. Auto Assembly Employment," Bureau of
Economics Staff Report to the Federal Trade Commission, February.

"The Cost of Protectionism: Estimates of the Hidden Tax of Trade Restraints,” in Joseph J. Norton (ed.)
World Trade and Trade Finance. New York: Matthew Bender.

1984

"On the Mutuality of Interest Between Bureaus and High Demand Review Committees: The Case of
Joint Production." Public Choice v. 43, no. 2 : 211-216.

"Tax Implications of Reagan's Trade Policy," Policy Report, Cato Institute, February.
"The Costs of Protectionism, Analysis." Challenge 26, no. 6: 54-58.

1983 .

Toward A More Open Trade Policy, (with Murray L. Weidenbaum and Ronald J. Penoyer), St. Louis,
MO: Center for the Study of American Business, Formal Publication No. 53.

"Protectionism: Who Gets Protected?” with (Murray L. Weidenbaum), Consumer's Research Magazine
(October) 16-19.

"Protection At Any Price?" (with Murray L. Weidenbaum), Regulation, (July/August). 54-61.

Have published more than fifty book reviews, in The Annals of the American Academy of Political and
Social Science, Southern Economic Journal, EH.NET, Public Choice, American Political Science
Review, Journal of Politics, Canadian Journal of Economics, Independent Review, Journal of Labor
Research, Regulation, Political Communication, and Journal of Policy Analysis and Management.

Have published more than one hundred articles in the popular press, including op-ed pieces in the New
York Times, Raleigh News and Observer, Chronicle of Higher Education, Boston Globe, The Flame,
and Durham Herald, and articles in Business and Society Review, Europe, Consumers' Research
Magazine, Cato Policy Report, Regulation, New Sense, and Challenge.

Member of Editorial Boards

e American Journal of Political Science (1998-2000)
¢ Constitutional Political Economy (2001-2003; 2005-present)

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Journal of Politics (1992-1994, 1997-1999)

Political Research Quarterly (2000-2002)

Public Choice (1994-1998, 1999-present; Book Reviews Editor, 2004-2005)
Regulation (1999-present)

